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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                               SOUTHWESTERN DIVISION

United States of America,                     )
                                              )
               Plaintiff,                     )       INTERSTATE AGREEMENT ON
                                              )       DETAINERS ORDER
       vs.                                    )
                                              )       Case No. 1:06-cr-066-4
Anne Louise Hummel,                           )
                                              )
               Defendant.                     )


       On September 8, 2006, Defendant Anne Hummel appeared for her initial appearance and

arraignment. Appearing on behalf of the United States was Attorney Paul Emerson. Appearing for

Defendant Hummel was her court-appointed counsel, attorney Brenda Neubauer.

       Prior to her initial appearance, DefendantHummel was incarcerated by the State of North

Dakota at the Dakota Women’s Correctional Center in New England, North Dakota. After the

indictment in this case was returned and an arrest warrant issued, a detainer was filed by the United

States with the North Dakota prison officials. Pursuant to the Interstate Agreement on Detainers Act

(“IADA”), Defendant Hummel’s appearance before this court for his initial appearance and

arraignment was secured by a writ of habeas corpus ad prosequendum.

       During the hearing, Defendant Hummel’s rights under the IADA to continued federal

custody until the charges set forth in the indictment are adjudicated were explained to her.

Defendant Hummel knowingly, voluntarily, and upon advice of counsel waived the anti-shuttling

provisions of the IADA and stipulated to her continued housing by the State of North Dakota (the

“sending state” under the IADA) at the Dakota Women’s Correctional Center pending trial of the



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charges on set forth the indictment by the United States (the “receiving state” under the IADA). The

United States concurred in this stipulation.

       Based on the foregoing stipulation of Defendant Hummel and the United States and

Defendant Hummel’s wavier of the anti-shuttling provisions of the IADA, IT IS HEREBY

ORDERED that defendant be housed in the “sending state” under the IADA, at the Dakota

Women’s Correctional Center pending trial of this matter or until further order of the court. Further,

pursuant to Defendant Hummel’s waiver and stipulation, the return of Defendant Hummel to her

place of incarceration pending trial shall not be grounds under the IADA for dismissal of the charges

set forth in the Indictment.

       Dated this 8st day of September, 2006.



                                                      /s/ Charles S. Miller, Jr.
                                                      Charles S. Miller, Jr.
                                                      United States Magistrate Judge




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